FREDERICK FRALEY SHOEMAKER, EXECUTOR, ESTATE OF ROBERT SHOEMAKER, JR., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Shoemaker v. CommissionerDocket No. 39422.United States Board of Tax Appeals20 B.T.A. 1035; 1930 BTA LEXIS 1976; September 29, 1930, Promulgated *1976  In an estate-tax case, the interest of the decedent in real estate held by decedent and his wife as tenants by the entirety should be included in his gross estate.  Henry Gross, Esq., for the petitioner.  Arthur Carnduff, Esq., for the respondent.  LOVE *1035  At the hearing, counsel for respondent stated that counsel for the petitioner had requested that the case be submitted on the pleadings, which was agreeable to him, and the case was so submitted.  From the allegations of the petition and the admissions in the answer, we make the following findings of fact.  FINDINGS OF FACT.  Frederick Fraley Shoemaker is executor of the estate of Robert Shoemaker, Jr., and is a resident of Pennsylvania.  Robert Shoemaker, Jr., was a resident of Pennsylvania, and died October 14, 1926.  The decedent and his wife, in October, 1919, acquired, as tenants by the entirety, certain real estate situated in Philadelphia, and held the same as such tenants by the entirety to the date of his death.  The Commissioner included the value of that real estate in the gross estate of the decedent and his action in so including the value of that real estate gave rise*1977  to the deficiency herein asserted in estate tax, in the amount of $681.92, as shown by the deficiency notice.  The amount in controversy as stated in the petition, is $375.68.  OPINION.  LOVE: The only question at issue in this case is whether or not the value of real estate held by husband and wife as tenants by the *1036  entirety in the Commonwealth of Pennsylvania should be included in the gross estate of the deceased husband.  That very much discussed question was finally decided by the Supreme Court in the case of . In that case the Supreme Court held that section 302(e) of the Revenue Act of 1924 (and corresponding sections of other acts) were not unconstitutional, and in compliance with the mandate of the statute, the value of such real estate should be included in the gross estate of the decedent.  Judgment will be entered for the respondent.